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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

HACHETTE BOOK GROUP, INC., ET AL.,
Plaintiffs,
20-cv-4160 (JGK)
- against -
ORDER
INTERNET ARCHIVE, ET AL.,
Defendants.

 

JOHN G, KOELTL, District Judge:
The parties are directed to appear by phone for oral

argument on Monday, March 20, 2023, at 1 p.m. in connection with

 

the motions for summary judgment,

Dial-in: 888-363-4749, with access code 8140049.

The Clerk is respectfully directed to close ECF Nos. 898 and
iil.

SO ORDERED.

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Dated: New York, New York
February 17, 2023

 

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~— John G. Koeltl
United States District Judge

 
